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                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF TEXAS
                                      TYLER DIVISION

LADARION HUGHES, ANGELA                            §
ALONZO, and DEMARCUS LIVELY,                       §
                                                   §
       Plaintiffs,                                 §
                                                   §          Civil Action No. 6:23-cv-344
v.                                                 §
                                                   §
SMITH COUNTY, TEXAS,                               §
                                                   §
       Defendant.                                  §

           THE PARTIES’ JOINT MOTION TO EXTEND DISCOVERY DEADLINES

TO THE HONORABLE JUDGE OF SAID COURT:

       COME NOW the Parties in the above-styled and -numbered cause and file this their Joint Motion

to Extend the existing deadlines, and would respectfully show unto the Court as follows:

       On October 30, 2023, the Court entered its Order [#12] governing discovery. The Order requires

that all fact discovery be completed by June 24, 2024. (Order [#12], p. 2.)

       Although the Parties have completed significant discovery heretofore, they now respectfully

request that the Court extend the written discovery and document production deadline. They propose a

final written fact discovery deadline of September 20, 2024, and a final oral discovery deadline of

November 20, 2024. Specifically, the Parties have exchanged significant discovery in the present case.

At this point, over 10,000 pages of documents have been produced. The voluminous discovery has led

the Parties to the conclusion that an extension is necessary for the Parties to adequately prosecute and

defend against the claims in this case. This extension is not requested solely for delay, but so that justice

may be done.

       WHEREFORE, PREMISES CONSIDERED, the Parties respectfully request that the Court extend

the final written discovery and document production deadline to September 20, 2024, and the final oral


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discovery deadline to November 20, 2024, and for any and all relief, at law or in equity, to which he has

shown himself to be justly entitled.

                                                    Respectfully submitted,


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                                                     ALONZO, AND DEMARCUS
                                                     LIVELY



                                    CERTIFICATE OF SERVICE
       I hereby certify that on June 20, 2024, a copy of the foregoing was transmitted to all counsel of

record in the above-referenced and -numbered action via electronic filing system.




                                                     David Iglesias



                                 CERTIFICATE OF CONFERENCE

       I hereby certify that on June 18, 2024, the undersigned attorney contacted Plaintiffs’ Counsel

regarding their position on this Motion. After discussing its merits, the Parties have agreed to file this

Motion jointly.




                                                     David Iglesias




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